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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                 *

               vs.                       *   CRIMINAL NO. MJG-99-0352

ROLANDO STOCKTON                         *

*        *           *        *          *       *          *         *          *

                          MEMORANDUM AND ORDER

     The Court has before it Petitioner's Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody entitled "Motion" [Document 530] amending the

pro se Motion for 2255 Relief [Document 503] and the materials

submitted relating thereto.           The Court has held hearings

regarding the motion and has had the benefit of the arguments of

counsel.



I.   PROCEDURAL BACKGROUND

     Defendant Rolando Stockton ("Movant") was charged with

Conspiracy to Distribute and Possession with Intent to

Distribute Heroin, in violation of 21 U.S.C. § 846; two counts

of Use and Carrying of a Firearm in Relation to a Drug

Trafficking Crime, in violation of 18 U.S.C. § 924(c); and with

being a Felon in Possession of a firearm and ammunition each in

separate counts in violation of 18 U.S.C. § 922(g)(1).                    He was

represented through trial by Godwin Oyewole, Esquire ("Trial
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Counsel").   As discussed herein, prior to trial, Movant rejected

certain plea agreements and proceeded to trial.              At trial he was

convicted on all charges.1     At sentencing the Court departed

downward, over Government objection, from a Guideline sentence

of 480 months and sentenced Movant to 330 months.

     Movant filed a timely appeal and the Government cross-

appealed.    The United States Court of Appeals for the Fourth

Circuit affirmed Movant's conviction but reversed the Court's

downward departure.    United States v. Stockton, 349 F.3d 755

(4th Cir. 2003).    The appellate court remanded the case,

directing the Court to resentence Movant to a term of 480

months.

     On March 12, 2004, the Court resentenced Movant to 480

months.   On January 5, 2006, Movant, pro se, filed a motion

under 28 U.S.C. § 2255 [Document 494] that the Court initially

denied as time barred [Documents 501, 502].         On July 28, 2006,

Movant, pro se, filed a motion seeking leave to file a belated

appeal from the resentence imposed March 12, 2004 [Document

503].   This motion was denied on July 31, 2006 [Document 504].

On August 14, 2006, Movant, pro se, moved for reconsideration,

alleging that, at sentencing, his then counsel ("Resentencing


1
     Prior to sentencing, the Government dismissed one of the
two 18 U.S.C. § 924(c) charges.
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Counsel") had been directed by the Court to file a timely appeal

and promised to do so [Document 507].         The Court obtained the

transcript of the sentencing proceedings, found that Movant's

allegation was correct, and directed the issuance of a Notice of

Appeal nunc pro tunc to the date of resentencing.              [Document

509].    The Court also appointed current counsel to represent

Movant in the appeal and any post-conviction proceedings.               The

appeal was dismissed by the United States Court of Appeals for

the Fourth Circuit on July 18, 2007.          [Document 518].



II.   PROCEDURAL ISSUE

      The Government contends that there is a procedural obstacle

to the Court's consideration of the instant motion.              The Court

does not agree.

      As noted above, the original sentence of 330 months was

reversed on appeal and the case was remanded for resentencing to

480 months.     On March 12, 2004, Movant was resentenced.            On that

date, Movant had ample time to file a motion under 28 U.S.C. §

2255.    The transcript of proceedings at resentencing reflects

that the following occurred after sentence was imposed and the

Court stated that Movant could file a § 2255 motion:




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          THE COURT: . . . With regard to the
          2255, there's a limitations period to
          bear in mind. Now, it seems to me that
          there should be no problem in filing a
          timely 2255. [Resentencing Counsel]
          help him on it. Make sure it gets done
          timely.

          [RESENTENCING COUNSEL]:       I will.

Hr'g. Tr. 12, Mar. 12, 2004.

    Movant, with every reason to believe that his counsel

would, as directed by the Court, file a timely § 2255,

reasonably relied upon Resentencing Counsel to do so.

Resentencing Counsel did not do so, however.

    On January 5, 2006, Movant, pro se, filed a letter that the

Court deemed to be a § 2255 motion.         [Document 494].      On July

13, the Court, on the record then before it, denied the motion

as untimely.   [Document 501].

    On July 28, 2006, Movant filed a Motion to Alter And/or

Amended Judgment [Document 503] stating therein that he had been

assured by Resentencing Counsel that a timely appeal would be

filed and was assured that it had been filed.           He stated that he

contacted the Court in September 2005 and found that there had

been no appeal filed and that, by that time, the time for filing

a § 2255 motion had expired.      Movant stated that he did not wish

to file an out of time appeal but "instead to use those facts to

prove circumstance warranting equitable tolling of the one year

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[§ 2255] limitations period."      He cited Davis v. Johnson, 158

F.3d 806, 811 (5th Cir. 1998), holding that the one year § 2255

limitations period is not jurisdictional so that equitable

tolling may be applied.

    The Court, not then having the transcript of the

resentencing proceedings, stated, in its Memorandum and Order of

July 31, 2006 [Document 504] denying Movant's motion:

           [Movant] . . . states that he was deceived
           by his lawyer who falsely told him that he
           had filed a timely appeal.

           It is this Court's regular practice to
           advise Defendants at sentencing of the need
           for a timely notice of appeal . . . . If
           necessary, the Court would order the
           sentencing transcript to establish that the
           advice was given in this case."

    On August 14, 2006, Movant, pro se, filed a letter that the

Court held constituted a motion for reconsideration [Document

507].   Movant stated in the letter that he had not received the

advice to which the Court referred.         Upon consideration of the

letter, the Court obtained the transcript of Movant's

resentencing proceeding and ascertained what had happened.

    In its Memorandum and Order of September 15, 2006 [Document

509], the Court found that Movant reasonably believed that his

attorney would take all steps necessary to avoid his being time

barred from filing a § 2255 motion with regard to his sentence.


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The Court did not address, in the September 15, 2006, Memorandum

and Order, the matter of Resentencing Counsel's failure to file

a timely § 2255 motion and, instead, had the Clerk file a Notice

of Appeal nunc pro tunc to the resentencing date.            Movant's

appeal, based upon the nunc pro tunc filing date, was dismissed

by the appellate court on July 18, 2007 as untimely because the

time for filing an appeal is jurisdictional.

    On August 31, 2007, Movant, pro se, filed a motion in the

instant case under Rule 60(b)(6), including therein the

contention that equitable tolling should apply to render the §

2255 motion filed January 5, 2006 timely.         In response to that

motion, Government counsel stated, on October 17, 2007:

          It would seem the most provident and
          efficient course of action at this time, is
          for the defendant to simply file his
          petition under 28 U.S.C. § 2255. The
          government will respond to the defendant's
          specific complaints at that time.

Government's Response to Defendant's Motion Pursuant to F.

R. Civ. P. 60(b)(6) [Document 522] at 3.

    On November 16, 2007, the Court appointed current counsel

for Movant.   After obtaining pertinent documents, Movant's

counsel conferred with Government counsel and, by letter of

June 10, 2008, advised the Court:

          On June 6, 2008, I spoke with [Government
          counsel] regarding the status of the case.

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            She indicated to me that if Mr. Stockton
            were to file a § 2255 petition, the
            Government would likely oppose the
            substantive allegations contained within the
            petition, but would not make any procedural
            argument asking for the case to be dismissed
            based on the timing of the petition. Based
            on my conversation with [Government
            counsel], it is my intention to file a §
            2255 petition within a reasonable time
            frame.

Letter at 2, June 10, 2008.

     On February 5, 2009, counsel for Movant filed the instant

motion, a document entitled "Motion" [Document 530] presenting

the ground that Movant had been denied the effective assistance

of counsel by trial counsel.      On March 16, 2009, the Government

filed a Motion to Dismiss the "Motion" as an unauthorized

successive petition under § 2255 [Document 536].             It is not

necessary to address the question of whether this action was

violative of Government counsel's agreement not to seek

dismissal "based on the timing2 of the petition."

     As set forth more fully in the Memorandum and Order filed

June 19, 2009 [Document 540] the Court held that the January 5,

2006 pro se § 2255 motion should not have been denied as

untimely.   See United States v. Prescott, 221 F.3d 686, 688 (4th

Cir. 2000) stating:


2
     I.e., whether the word "timing" refers only to lateness in
a calendar sense.
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          . . . § 2255's limitation period is subject
          to equitable modifications such as tolling.
          . . . Typically . . . circumstances
          [warranting equitable tolling are] external
          to the party's own conduct thus making it
          unconscionable to enforce the limitation
          period against the party.

(internal quotations omitted).

     The Court therefore, rescinded its dismissal of the pro se

§ 2255 motion [Document 503] and deemed the document entitled

"Motion" filed by counsel [Document 530] to constitute an

Amendment to Petitioner's Motion under § 2255 [Document 503].

     The Court, having reconsidered the matter, confirms its

prior ruling and finds that the Movant's substantive issues must

be addressed.



III. SUBSTANTIVE CONTENTIONS

     By the instant motion, Movant contends that Trial Counsel's

and Resentencing Counsel's representation violated his Sixth

Amendment right to effective assistance of counsel.

     To prevail on this contention, Movant must show (1) that

counsel's representation fell below an objective standard of

reasonableness,3 and (2) that there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the

3
     Thus overcoming a presumption that counsel's conduct was
reasonable.

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proceedings would have been different.         Strickland v.

Washington, 466 U.S. 668, 687 (1984).       A reasonable probability

is a probability sufficient to undermine confidence in the

outcome of the proceedings.      Id. at 694.

    In this case the Movant contends that Counsel and

Resentencing Counsel were ineffective in regard to plea

agreement offers and in failing to seek to delay the

resentencing to await decision in a then-pending Supreme Court

case.



    A.    Plea Agreement Offers

          1.    The Contention

    Movant was indicted in a Superseding Indictment [Document

33] on August 19, 1999 and Trial Counsel was appointed by

September 22, 1999.     A Second Superseding Indictment was filed

September 23, 1999) [Document 70] and Movant was arraigned

thereon the next day.

    As discussed more fully below, the Movant was offered two4

opportunities to plead guilty pursuant to agreements that would


4
     Movant testified that there was a third offer made during
trial. He stated: "Right at the trial, the government came,
before the judge, just before the judge came back and offered me
12 years." Hr'g Tr. 68, Aug 20, 2009. Movant stated that Trial
Counsel said the case was going well and there was no discussion
of the offer. The Government denies that there was any third
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have called for a sentence of no more than ten years.            Movant

rejected these offers, proceeded to trial and was convicted.                He

was originally sentenced to a 330 month term but, following his

appeal and the Government's cross-appeal, was resentenced to 480

months.

    Movant, by current counsel, stated in the instant motion:

          Trial counsel was ineffective for improperly
          advising [Movant] of the maximum penalty for
          his offenses and the applicable guidelines
          range. [Movant] relied on trial counsel’s
          faulty advice and rejected a plea offer.
          [Movant] was offered a plea that would have
          resulted in six-years5 incarceration.
          Believing, based on trial counsel’s
          erroneous advice, that he faced no more than
          ten years incarceration if he lost the
          trial, [Movant] rejected the plea offer.
          [Movant] was later offered a second plea for
          twelve6 years. That plea was also rejected.

Mot. ¶ 12.a.

    The Court will address, in turn, the contentions that

Movant was unaware of the maximum possible penalty he faced if

he proceeded to trial and that Trial Counsel did not effectively

advise him regarding his decision to accept or reject the

proffered plea agreements.


offer and Trial Counsel did not testify that there was one. The
Court finds it more likely than not that Movant's recollection
of such an offer is erroneous.
5
     As discussed herein, the first offer, in writing, provided
for a likely sentence in the range of 92-115 months.
6
     The evidence establishes that the second offer would have
been to a charge providing a 10 year maximum sentence.
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             2.    The Frye and Lafler Decisions

       The Supreme Court has recently issued two decisions

addressing the question of ineffective assistance of counsel

with regard to a defendant's rejection of a plea agreement.

Lafler v. Cooper, 566 U.S. ___, 132 S. Ct. 1376 (2012) and

Missouri v. Frye, 566 U.S. ___, 132 S. Ct. 1399 (2012).

       In Frye, a defendant (a repeat driving on revoked license

offender) was charged with a felony providing a possible four

year prison term.      The prosecutor sent defendant's counsel a

letter proposing two possible plea agreements, under one of

which there would be a misdemeanor plea with a recommendation of

service of a 90 day sentence and under the other a plea to a

felony with a recommendation of a 3 year sentence, no

recommendation of probation but a recommendation of service of

10 days in jail.      132 S. Ct. at 1404.      Counsel did not convey

the offers to the defendant and they expired.             Id.    The

defendant was then arrested again for driving on a revoked

license and ended up pleading guilty without a plea agreement.

Id.    He received a three year prison sentence.           Id. at 1404-05.

       The Frye court stated:

             This Court now holds that, as a general
             rule, defense counsel has the duty to
             communicate formal offers from the

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          prosecution to accept a plea on terms and
          conditions that may be favorable to the
          accused. Any exceptions to that rule need
          not be explored here, for the offer was a
          formal one with a fixed expiration date.
          When defense counsel allowed the offer to
          expire without advising the defendant or
          allowing him to consider it, defense counsel
          did not render the effective assistance the
          Constitution requires.
                              * * *
          To show prejudice from ineffective
          assistance of counsel where a plea offer has
          lapsed or been rejected because of counsel's
          deficient performance, defendants must
          demonstrate a reasonable probability they
          would have accepted the earlier plea offer
          had they been afforded effective assistance
          of counsel. . . . To establish prejudice in
          this instance, it is necessary to show a
          reasonable probability that the end result
          of the criminal process would have been more
          favorable by reason of a plea to a lesser
          charge or a sentence of less prison time.

Id. at 1408-09.

    In Lafler, a defendant charged with assault with intent to

commit murder and other charges was offered a plea agreement

that included a recommendation for a sentence of 51 to 85

months.   132 S. Ct. at 1383.    Counsel advised the Defendant to

reject the offer because, counsel said, the prosecution could

not establish intent to commit murder.       Id.    Both sides agreed

that the advice was deficient.      Id. at 1384.     The Defendant

proceeded to trial, was convicted and received a sentence of 185

to 360 months.    Id. at 1383.


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     The Lafler Court stated:

          Defendants have a Sixth Amendment right to
          counsel, a right that extends to the plea-
          bargaining process. During plea
          negotiations defendants are "entitled to the
          effective assistance of competent counsel" .
          . . . In this case all parties agree the
          performance of respondent's counsel was
          deficient when he advised respondent to
          reject the plea offer on the grounds he
          could not be convicted at trial. . . .

          The question for this Court is how to apply
          Strickland's prejudice test where
          ineffective assistance results in a
          rejection of the plea offer and the
          defendant is convicted at the ensuing trial.

          To establish Strickland prejudice a
          defendant must "show that there is a
          reasonable probability that, but for
          counsel's unprofessional errors, the result
          of the proceeding would have been
          different." In the context of pleas a
          defendant must show the outcome of the plea
          process would have been different with
          competent advice.

Id. at 1384 (citations omitted).

    To prevail, Movant must establish that Trial Counsel

provided ineffective assistance in regard to Movant's decision

to reject the offered plea agreements and that, but for the

ineffective assistance, there is a reasonable probability that

the result would have been different.       See Frye, 132 S. Ct. at

1409; Lafler, 132 S. Ct. at 1384.




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    The instant case arises in a significantly different

context from that addressed in Frye and Lafler.             Movant does not

contend that he was uninformed of the plea agreement offers (as

in Frye, 132 S. Ct. at 1404) nor that he was he given

incompetent advice to reject the offers and proceed to trial (as

in Lafler, 132 S. Ct. at 1384).

    Movant contends that he was ineffectively represented

because Trial Counsel erroneously advised him that the maximum

potential sentence faced if he proceeded to trial was ten years,

and that Trial Counsel did not affirmatively recommend

acceptance of the plea agreements and did not persuade him to

accept the offer.



          3.    Can there be a remedy?

    At the initial argument on the instant motion, Government

counsel took the position that the Court did not have authority

to provide any remedy in the instant case.         It is unnecessary to

discuss the matter further because the same argument was

presented to, and rejected by, the Supreme Court.

    As stated in Lafler:

          Petitioner and the Solicitor General . . .
          contend there can be no finding of
          Strickland prejudice arising from plea
          bargaining if the defendant is later
          convicted at a fair trial. The three

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           reasons petitioner and the Solicitor General
           offer for their approach are unpersuasive.

132 S. Ct. at 1385.



           4.     Possible Maximum Sentence

     Movant contends that Trial Counsel consistently advised him

that if he proceeded to trial on the charges against him and was

convicted, the maximum sentence that could be imposed on him was

ten years.      However, the Court does not find that Trial Counsel

provided such advice.

     Nor does the Court find that Movant was under the

impression that he faced no possible sentence in excess of 10

years.   To the contrary, the evidence establishes that Movant

was made aware on the record of court proceedings and in the

written plea agreement offered to him, that he if he proceeded

to trial, he faced a potential sentence in excess of ten years.

Indeed, he was informed that he faced a possible life sentence.

     On September 24, 1999, Movant, represented by trial

counsel, was arraigned7 before then Magistrate Judge8 Bredar.                In

the course of the arraignment, the following occurred.

           THE COURT: Ms. [Assistant United
           States Attorney] Bennett, why don't you

7
     On the Second Superseding Indictment. Ultimately, there
were five superseding indictments.
8
     Now District Judge.
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       summarize the charges that are pending
       against this particular defendant,
       together with the maximum possible
       penalties that could be imposed if he
       were convicted.

       MS. BENNETT: Yes, Your Honor. The
       defendant is charged in count seven
       with the attempted murder of Ricky
       Ricardo Jones in aid of racketeering.

                           ***

       The maximum penalty for this count is
       ten years. Mr. Stockton is also
       charged in count eight with knowingly,
       willfully and intentionally conspiring
       with the other named defendants and
       others known and unknown to the grand
       jury to distribute and possess with
       intent to distribute heroin, and the
       maximum statutory penalty on count
       eight is life imprisonment. . .

                        ***
       THE COURT: It is also true that if the
       defendant was convicted on either
       count, he would be subject to a
       mandatory --- assessment of $100 per
       count, and Mr. Stockton, I also advise
       you that if you were convicted in this
       case on count seven and sent to prison,
       you would also be subject to imposition
       of a term of supervised release which
       could be up to three years in length,
       and that would follow the service of
       the term of imprisonment.

                         ***
       With respect to count eight, if you
       were convicted and ordered to serve a
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          term of imprisonment and if that term
          was less than life, you could also be
          ordered to serve a term of supervised
          release, and in that case it could be
          up to five years in length.

                               ***

          Do you feel that you understand the
          nature of these two charges as set out
          in count seven and eight, and the
          maximum possible penalties that could
          be imposed upon you if you were
          convicted in this case?

          THE DEFENDANT:     Yes, I do.

Hr'g Tr. 3-5, Sept. 24, 1999 (emphasis added).

    Moreover, when orally denying pretrial release, the

Magistrate Judge stated: "[the] maximum term of imprisonment

[if] the defendant is convicted in this case is life."            Hr'g Tr.

28, Sept. 24, 1999.

    Later, on or about October 5, 2000, Government counsel sent

Trial Counsel a letter setting forth the terms of an offered

plea agreement.   This agreement, if accepted, would require

Movant to plead guilty to a One Count Information that would

charge a “felon in possession” count under 18 U.S.C. § 922(g)(1)

and would require the Government to dismiss all other charges.

The letter states that the parties agree that the Guideline



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Offense Level would be at least 24.        As to Criminal History, the

letter states:

          Your client understands that there is no
          agreement as to his criminal history or
          criminal history category, and that his
          criminal history could alter his offense
          level. It is contemplated that the
          defendant falls into Criminal History
          Category V and is not believed to be an
          armed career criminal.

                            * * *

          Mr. Stockton understands that his criminal
          history may affect his offense level and
          criminal history category if he is found to
          be an Armed Career Criminal pursuant to 18
          U.S.C. Section 924(e) and U.S.S.G. Section
          4B1.4.

Plea letter 3-4, Oct. 5, 2000.

    If Movant had been sentenced in the range for Offense Level

24 and Criminal History Category V, his sentence would have been

between 92 and 115 months.     While the letter stated that the

parties contemplated that Movant would receive a sentence of no

more than ten years, the letter expressly warned that there was

a possibility of a greater sentence, stating:

          The maximum sentence provided by statute for
          the offense to which your client is pleading
          guilty is as follows: Imprisonment for ten
          years without parole, followed by a term of
          supervised release of at least two years,
          but not more than three years, and a fine of
          up to $250,000. In the event that your
          client is found to be an Armed Career
          Criminal, as defined at 18 U.S.C. Section

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            924(e) and U.S.S.G. Section 4B1.4, the
            maximum sentence provided by statute for
            violation of 18 U.S.C. Section 922(g)(1) is
            as follows:

            Imprisonment for a minimum mandatory
            sentence of fifteen years without parole and
            up to life imprisonment without parole,
            followed by a term of supervised release of
            up to five years and a fine of up to
            $250,000.
Id. at 1-2.

     Trial Counsel testified that he reviewed this offer letter

with Movant "line by line."      Hr'g Tr. 29, Aug. 20, 2009.           Movant

denies this.    It is true that Trial Counsel's memory of details

of this specific case was sketchy.          Thus, his testimony shall be

taken to indicate that a line by line review would have been his

normal practice.    Nevertheless, the Court finds it more likely

than not that Trial Counsel reviewed the plea agreement letter

in at least sufficient detail to include a review of the

statement therein of the maximum potential sentence faced.

Moreover, Movant himself had ample opportunity to read the

letter and understand that it stated, as had the prosecutor and

Magistrate Judge at arraignment, that there was a possible life

sentence even under the reduced charge to which the offer

related.9


9
     Of course, the plea agreement reflected the belief that
Movant would not receive more than a ten year sentence under the
agreement. However, there was a reference to a possible –
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    Moreover, it had to be clear to Movant that the offer

called for a plea to only one of the several charges against him

and that if the offer were accepted, the Government would not

proceed on other, more serious charges.        Hence, it is not

credible that Movant would believe that if he rejected the plea

agreement, proceeded to trial on all charges and was convicted

he could not be sentenced to any more than ten years.            Nor is it

feasible to believe that, in discussing the proffered plea

agreement, Trial Counsel would render advice refuted by the

express terms of the proposed agreement being reviewed.

    Finally, Government counsel have presented an affidavit

stating that, on March 29, 2001, at a "reverse proffer" session

with Movant and Trial Counsel, they summarized the anticipated

trial evidence and offered Movant an agreement that would permit

him to plead guilty to a weapons offense carrying a ten year

maximum sentence.   They stated in their affidavit that:


          Your affiants told Stockton, in clear terms,
          that he also faced life in prison were he to
          reject the plea offer. Stockton was told
          that a superseding indictment would be
          sought from the grand jury, and it would
          contain various drug and weapon counts.
          Stockton was informed by your affiants that
          he faced ten years for a violation of 18

although unlikely – life sentence even under the plea agreement,
refuting the contention that Movant was unaware that a more than
10 year sentence was possible even if should he proceed to trial
and be convicted on all charges pending against him.
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           U.S.C. Section 924(c) for the shooting of
           Clinton Williams, and that the ten years
           would be consecutive to any other sentence
           he would receive should he be convicted at
           trial.
Attorneys' Affidavit [Document 566] ¶ 4.


    In his testimony, Movant agreed that there was a meeting on

March 29, 2001 at which Government counsel offered a “ten-year

plea.”   Hr'g Tr. 66, Aug. 20, 2009.       As to being informed of the

possible sentence faced, the record reflects the following

testimony on cross-examination.


           CROSS-EXAMINATION OF STOCKTON

           Q. And you have no recollection at all when
           Mr. Warwick and I were meeting with you that
           we told you you were facing life? None at
           all?

           A. When I meet with you and Mr. Warwick and
           my counsel, that's all was going on was a
           bunch of screaming, Y'all telling me you
           going to get found guilty, you going to get
           found guilty –-

           Q. And you're going to go to jail --

                MR. LAWLOR: Objection, Your Honor.           He
                wasn't finished with his answer.

                THE COURT:    All right.    Finish your
                answer.

           A. You going to get found guilty, you going
           to get found guilty and basically, that was
           basically it. It wasn't no you facing this
           or you looking at this. There was none of
           that.
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       Q. So we were screaming at you you're going
       to be found guilty --

       A. You said take this, take this. You
       better take it, you better take it, we going
       to find you guilty.

       Q. And we didn't include in that statement
       because if you don’t, you're going to get
       life?

       A. I basically shut everything off I mean
       because –-

       Q. So you didn't listen to what we said --

             MR. LAWLOR: Objection, Your Honor.
             Can he finish his answer, please?

             THE COURT:    Let him finish his answer.

       A. Yeah. Basically, I mean I looked at my
       lawyer and my lawyer said he would be down
       there to talk to me and that was it. I
       basically – we talked but it was about ten
       minutes we was in there and it was a bunch
       of screaming going on. Y'all telling me
       what I should do and, you, basically –- that
       was basically it.

       Q. And you didn't ever ask why we were
       screaming at you to take ten years when
       that's the maximum you were facing?

       A. No. The thing is this, right. I know I
       mean from people coming back and forth
       speaking with the prosecutors, that I mean I
       felt anyway that y'all probably wanted me to
       testify and that wasn't going to happen. So
       what you were saying, what y'all was saying,
       I wasn't really hearing.




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          Q. Mr. Stockton, you were the very last
          defendant out of about 2. Who were going to
          testify against --

          A. Maybe it was somebody else y'all had in
          mind. I don't know. . .

Hr'g Tr. 85-86, Aug. 20, 2009.

    Movant objects to the Court's consideration of the

affidavit of Government counsel without the opportunity to

cross-examine them.    Although the Court has no reason to doubt

the truthfulness of Government counsel, the Court would permit

such cross-examination were it necessary to rely upon any

disputed statements in the affidavit.       However, such reliance is

not necessary.   As discussed above, by the time of the March 29,

2001 session, Movant had been informed in at least two manners -

at arraignment and in the October 5, 2000 plea agreement letter

- that he faced a possible life sentence and must have been

aware of this possibility.     Moreover, even on Movant's version

of the March 29, 2001 session, he does not deny that the

prosecutors told him that he possible faced life imprisonment

but states that he did choose to listen to what the prosecutors

said.

    In sum, the Court does not find that Trial Counsel advised

Movant that he faced a maximum sentence of ten years were he to

be convicted at trial of the charges against him in the


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Superseding Indictment.     Moreover, even if Trial Counsel did

not, himself, advise Movant that he would face a potential

sentence of as much as life imprisonment, this information was

presented to Movant at arraignment by the Magistrate Judge and

prosecutor and in the offered plea agreement that was reviewed

with Movant.

    Accordingly, Movant is not entitled to relief due to

erroneous advice by Trial Counsel that he faced no more than a

ten year sentence if he rejected the plea agreements available

to him.



    B.    Failure to Persuade Movant to Plead Guilty

    As Justice Kennedy observed in Frye, it is difficult "to

define the duty and responsibilities of defense counsel in the

plea bargain[ing] process."     132 S. Ct. at 1408.         The Justice

stated:

           'The art of negotiation is at least as
           nuanced as the art of trial advocacy and it
           presents questions farther removed from
           immediate judicial supervision.' Bargaining
           is, by its nature, defined to a substantial
           degree by personal style. The alternative
           courses and tactics in negotiation are so
           individual that it may be neither prudent
           nor practicable to try to elaborate or
           define detailed standards for the proper
           discharge of defense counsel's participation
           in the process.


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Id. (citations omitted).

    In this case, Trial Counsel was faced with the need to

provide competent representation while not destroying the

attorney/client relationship.     Trial Counsel provided Movant

with the written and oral plea agreements and stated that the

decision was the client's and not his.       In the hearing, Trial

Counsel testified about his advice.

          THE COURT: Okay. Can I just be clear, Mr.
          Oyewol[e]? I may have missed it. What was
          your advice? What was your advice with
          regard to these plea offers?

          THE WITNESS: Well, Your Honor, I do not
          remember exactly what I said. But I told
          him that the bottom line, the final decision
          is his and his alone and as a matter of
          fact, the court will ask him whether that
          was the decision he wanted to make.

          THE COURT: Well, do you recall whether you
          said I advise you to take this offer or
          advise you to reject this offer?

          THE WITNESS: I don’t know if I said it in
          those words, but I told him that it was a
          good offer. I told him it was a good offer.
          But I'm not sure what language I used to
          accept or not to accept it. But I remember
          that I said it was a good offer. But
          whether he accepts it or not is his decision
          to make. And you know in the cell that we
          have talked about the case all the time and
          every time. It was clear to me that he had
          a decision to make.

Hr'g Tr. 55-56, Aug. 20, 2009.



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    Trial Counsel also testified that, as Movant had stated at

his sentencing, the client always professed his innocence:

          Q. What was the position that Mr. Stockton
          took every time you made him an offer?

          A. Well, every time I mentioned that offer
          to him, his position was what he stated in
          open court. It was in the sentencing
          transcript. It's on page 27 [of the
          sentencing transcript], that he did not, he
          could not plead to it if he didn't do it,
          and he could not plead guilty.

          Q. He wouldn't plead guilty essentially to
          anything because he was innocent?

          A. That is correct.      I think it's on page
          27.

          Q. But other than at sentencing, when he
          said it out loud, did he communicate that to
          you?

          A. Yes, yes.      Both in court and out of
          court, yes.

Hr'g Tr. 12, July 19, 2011.

     Movant denies that Trial Counsel stated that the offers

were "good."   The Court, although finding that Trial Counsel

testified truthfully to the extent of his recollection, finds

that he could not state the precise words used in his

discussions with Movant.      However, while the Court does not find

that Movant in fact stated that the offers were "good offers,"

the Court does find that Trial Counsel presented the terms of

the offers, answered whatever questions Movant may have asked,

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and in no way recommended or suggested that the offers should be

rejected.

    Movant presented the testimony of William Purpura, Esquire,

a highly respected member of the criminal defense bar.            Over the

objection of the Government, Mr. Purpura was permitted to state

his opinion that Trial Counsel did not meet the standard of care

for reasonably competent defense counsel.        In particular, Mr.

Purpura testified as follows:

            Q. Now, when you or competent counsel,
            either or both, take a plea offer to a
            client, is it your practice and do you
            believe it's the obligation of defense
            counsel to make an affirmative
            recommendation one way or the other vis-à-
            vis the plea offer?

            A. It is the obligation of a defense
            attorney to make a recommendation, and an
            affirmative recommendation based on all of
            the factors that the defense attorney has
            before him.

                               ***

            A. [T]his would be the classic case where I
            would hammer a plea agreement, and a
            competent lawyer would hammer a plea
            agreement.

            Q. All right. Let me, and I apologize in
            this case, let me ask you what you mean when
            you say hammer it. What do you mean by
            that? If you could sort of flush [flesh]
            that out for me a little bit.

            A. What I mean by hammer a plea agreement
            would be to explain in detail, not only

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          explain, but put down in writing exactly
          what the client faces, to visit the client,
          spend time with him, let him know what 40
          years in federal prison really means, the
          likelihood of a conviction as we already
          talked about. I would go past that, aside
          from spending time, we can and we have often
          in this district, we’ve had the assistance,
          and I have used, of other attorneys that
          come in, if the client is somewhat tired of
          hearing from you and having them assess to
          avoid a trial what it looks like and have
          them speak to the client as well. And [the
          Court] has approved that every time it’s
          been asked, and that’s part of what we have
          here as a resource.

Hr'g Tr. 12, 15, May 6, 2011.

    The Court has the greatest respect for Mr. Purpura and for

his opinions.   Mr. Purpura is reputed to be, and in the opinion

of the Court is, at the highest level of the Baltimore criminal

defense bar, particularly in matters such as those involved in

the instant case.   Moreover, the Court is fully satisfied that,

had Mr. Purpura been defense counsel for Movant, he would have

devoted more time and effort than Trial Counsel to seeking to

obtain Movant's agreement to the proffered plea agreements.

Thus, Mr. Purpura would have made an affirmative recommendation

that the offers be accepted and would have made efforts to

convince Movant to accept the plea.        Mr. Purpura may well have

sought the appointment of another attorney to provide a second

opinion to Movant and may well have sought to obtain input from


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persons in whom Movant had confidence to provide affirmative

recommendations.

    However, the issue before the Court, and ultimately before

the United States Court of Appeals for the Fourth Circuit upon

appeal, is not what the best possible defense counsel could have

done.   Rather, the question is what a post-conviction court must

require of a defense counsel when presented with a proffered

plea agreement, particularly in light of Frye and Lafler.

    In light of Frye, it appears well established that a

criminal defense lawyer presented with a plea agreement must

make the client aware of the offer.        See 132 S. Ct. at 1408-09.

Trial Counsel did so.

    In light of Lafler, it appears that a criminal defense

lawyer presented with a plea agreement must not provide advice

to reject the offer based upon manifestly erroneous advice that

the defendant will not be convicted if he proceeds to trial.

See 132 S. Ct. at 1384.     Trial Counsel did not advise Movant to

reject the plea offers.     Nor did Trial Counsel provide erroneous

relied upon advice that Movant faced no more than a ten year

sentence if he proceeded to trial.

    Trial Counsel did not affirmatively advise Movant to accept

either plea offer.    Even if Trial Counsel stated, as he

testified, that they were "good" offers, he expressly told

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Movant that the decision was the client's.         Trial Counsel did

not make an affirmative recommendation to accept the offers and

did not take steps to persuade Movant to do so.

    The Court has not found, or been advised of, precedent

articulating a standard for determining when a criminal defense

attorney, to be effective, must make an affirmative

recommendation of acceptance of a plea agreement and must take

such affirmative steps as may be needed to persuade the client

to plead guilty.

    Of course, Movant should ask the appellate court to set

such a standard and, if appropriate, remand the instant case for

necessary findings.    However, in considering the matter, the

appellate court should consider the extent to which, to

paraphrase Justice Kennedy's statement in Frye, it would be

prudent or practicable to try to elaborate or define detailed

standards for the proper discharge of defense counsel's actions

upon receipt of a plea offer beyond the requirement of

communication to the client and avoiding providing manifestly

erroneous advice.     See 132 S. Ct. at 1408.

    A standard that would require an affirmative recommendation

of acceptance of a plea offer would require a post-conviction

court to examine the actions of defense counsel in the

particular context in which the offer was made.             This would

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include, but not be limited to, evaluating the perceived

probability of acquittal on some or all charges,10 comparing the

relative sentencing exposure, balancing the probability of

having the recommendation accepted against the adverse effect on

the attorney/client relationship of unsuccessful persuasive

efforts and, ultimately, deciding whether such persuasive

efforts that could be successful11 would cause a resultant guilty

plea to be vulnerable to attack as involuntary.12

      In the instant case, Trial Counsel had a client who

steadfastly professed his innocence of all charges.13             Trial

Counsel made the professional judgment that an affirmative

recommendation was not appropriate but, rather, that it was


10
     In light of the circumstances existing at the time of the
plea agreement offer, including what defense counsel knew and
should have known about the case that would be tried.
11
     Thus, a post-conviction court would have to consider
whether there should have been a request for an independent
second opinion counsel, participation by family members or other
advisors, persuasive (but short of coercive) statements from
counsel, etc.
12   "A guilty plea is not voluntary and must be stricken if
that free will is overborne by the prosecutor or by the
accused's lawyer." Edwards v. Garrison, 529 F.2d 1275, 1380 (4th
Cir. 1975). (Emphasis added). Thus, a plea could be held
involuntary if counsel's persuasive efforts were found to amount
to a threat to withdraw if the defendant continued to refuse to
plead guilty, Iaea v. Sunn, 800 F. 2d 861 (9th Cir. 1986) or to
constitute telling the defendant "that he has no choice, he must
plead guilty." United States v. Carr, 80 F. 3d 413, 416 (10th
Cir. 1996).
13
     The Court will assume that if Movant had been persuaded to
plead guilty, the "innocence problem" would have been overcome.
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preferable to have the prosecutors summarize the evidence.

Moreover, the Court finds that, in the instant case, Movant

would not have accepted either plea offer had Trial Counsel

simply recommended acceptance.      Much more would have been

necessary to persuade Movant to plead guilty.

    Of course, the Court cannot definitively state the

circumstances in which a defense counsel would be held

ineffective for a failure to advise and persuade a client to

plead guilty.   However, the Court concludes that the instant

case does not present such a circumstance.

    In sum, the Court does not find that Movant has established

that Trial Counsel provided ineffective assistance in regard to

the plea agreements at issue.



    C.    Postponement of Sentencing

    In the instant motion, current counsel states:

          Trial counsel was ineffective for failing
          keep abreast of pending litigation relating
          to the binding nature of the now advisory
          Federal Sentencing Guidelines and failing to
          move to postpone [Movant's] resentencing.

Mot. ¶ 12.b.

    The United States Court of Appeals for the Fourth Circuit

issued its decision affirming Movant's conviction and remanded

the case for resentencing on November 17, 2003.             The appellate

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court issued its Judgment on December 11, 2003.               The Court

resentenced Movant on March 12, 2004.

      Movant contends that Resentencing Counsel should have been

aware of the pendency of Blakely v. Washington, 542 U.S. 296

(2004) (argued March 24, 2004) and should have sought to defer

the resentencing until the case was decided.14           Had he done so,

Movant contends, the Court would have been able to apply Blakely

and impose a sentence less than 480 months.

      At argument on the instant motion, Government counsel

argued that even if Blakely were applicable, it would not affect

the sentencing of Movant since the jury (not the judge) had

found the quantity of drugs involved.         Movant countered by

contending that Blakely was the predecessor to United States v.

Booker, 543 U.S. 220 (2005), which was argued October 4, 2004

and decided January 12, 2005.15       Presumably, the current

contention is that even if Blakely did not help Movant, Booker,


14
     The Supreme Court, in Apprendi v. New Jersey, 530 U.S. 466,
490 (2000), had held that "[o]ther than the fact of a prior
conviction, any fact that increases the penalty for a crime
beyond the prescribed statutory maximum must be submitted to a
jury, and proved beyond a reasonable doubt." Blakely held that
the "statutory maximum" sentence, for purposes of Apprendi, "is
the maximum sentence a judge may impose solely on the basis of
the facts reflected in the jury verdict or admitted by the
defendant." 542 U.S. at 303 (emphasis in original).
15
     Booker held that the Federal Sentencing Guidelines must be
"merely advisory," rather than mandatory, in order to avoid
violating the Sixth Amendment. 543 U.S. at 233, 268.
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would have so that resentencing should have been delayed from

March, 2004 until the Supreme Court 2004–2005 term.

      The Court must note that it typically will agree to defer a

sentencing (or other proceeding) if there were a pending

appellate case that could resolve a significant issue presented

in the near future.16.        Indeed, in the instant case, the Court

deferred the instant decision so that it would have the benefit

of the decisions in Frye and Lafler.          However, awaiting Blakely

and/or Booker would have been useless.

      On March 12, 2004, the Court was not sentencing Movant.                  It

was resentencing Movant in compliance with a binding Order of

the United States Court of Appeals for the Fourth Circuit.                The

Court had no ability to impose any sentence other than 480

months.    Accordingly, no purpose would have been served from a

deferral of the resentencing.




16
     As would have been the situation with Blakely, since a June
decision would have been anticipated.
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IV.    CONCLUSION

       For the foregoing reasons, Petitioner's Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody entitled "Motion" [Document 530]

amending the pro se Motion for 2255 Relief [Document 503] is

DENIED.


       SO ORDERED, on Thursday, July 5, 2012.



                                                       /s/__________
                                                Marvin J. Garbis
                                           United States District Judge




                                      35
